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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------x
In re


DOUGLAS E. CAMPBELL,                                               Case No.: 21-43012


                                                                   Chapter 11

                                    Debtor.
 -------------------------------------------------------x

                    DECLARATION PURSUANT TO LOCAL RULE 1007-4

        Douglas E. Campbell, the above captioned debtor in possession (the “Debtor”), hereby

declares as follows pursuant to 28 U.S.C. §1746:


        1.       I am the sole member of a professional corporation that operates an office in

Kings County called Campbell Podiatry P.C.. I am also employed as a surgeon for Maimonides

Medical Center in Kings County. I have three creditors with significant claims against me that

caused my bankruptcy filing. I have a default judgment (the “Judgment”) that was entered

against me as a result of a medical malpractice claim. In addition, I owe a significant amount of

taxes to the I.R.S. and N.Y.S. that I must address in a plan of reorganization. My wages have
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been garnished by the I.R.S. and I need the relief afforded by Chapter 11 to reorganize my

economic affairs.

       2.      I have never filed a prior bankruptcy case. Attached hereto is a list of the names,

addresses, telephone numbers, person(s) familiar with all of the claims asserted against me and a

summary of my assets and liabilities.

       3.      I am a co-signor for the lease utilized by Campbell Podiatry PC for the office

located at 4626 New Utrecht Avenue, Brooklyn, NY 11219. I have no other leases in my name.

I do not own any assets outside of the United States.

       4.      The Judgment creditor has moved the state court to hold me in contempt for

failing to comply with an information subpoena and a prior order. I know of no other

proceedings pending against me before a court.

       5.      I have attached an estimate of my income and expenses for the thirty-day period

following my bankruptcy filing. I have prepared this list to the best of my ability since my

wages are garnished and since some insurance payments from carriers are also being garnished

and are not sent to Campbell Podiatry. The attached list is based upon my present income.


       I declare under penalty of perjury that the foregoing is true and accurate.


Dated: December 3, 2021

Brooklyn, New York                                            /s/Douglas E. Campbell
                                                              _________________________
                                                              Douglas E. Campbell
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                                                   Exhibit A

                 Persons Familiar with Debtor’s Non-Insider Unsecured Claims

                 (List the names, addresses, telephone numbers, person(s) familiar with the debtor’s

             account, amount of the claim, and whether the claim is contingent, unliquidated, disputed,

                   or partially secured of the Debtor’s 20 largest non-insider unsecured creditors.)




     Creditor                     Contact Information                          Amount of Claim             Status of Claims
Internal Revenue       C. Mathis                                             $1,019,533.87                Levied
Service
                       718-834-3545

New York State                                                               $400,000*
Department of Tax
and Finance                                                                  *estimated

Kaesun Alexis-         Rosenberg Minc Falkoff & Wolff, LLP $1,523,826                                     Judgement entered
John
                       C/O Daniel Sully

                       1002 Dean St.

                       Brooklyn, NY 11238

                       danielsully@danielsully.com




                                  Summary of Assets and Liabilities



Real Property                                     None
Personal Property                                 $554,213 (Approx. $500,000 in retirement account)
Business                                          $100,000 estimated equity
Secured and Priority Debt                         $1,419,533.87 (All Tax debt)
Unsecured Debt                                    $1,523,826
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                               Actions and Proceedings


Court          Date Filed      Status            Case Number      Caption          Description
Supreme        07/14/2016      Judgement         512062/2016      Kaseun           Medical
Court of the                   entered.                           Alexis-John v.   Malpractice
State of New                   Motion for                         Douglas E.       default
York, County                   contempt                           Campbell,        judgment.
of Kings                       recently filed.                    D.P.M




               Estimated Thirty Day (30) Cash Receipts and Disbursements



                 Income                                               Expenses
           Source               Amount                         Type                     Amount
Maimonides Medical Center     $7,000         Taxes- garnishment                      Unknown
                                             Utilities                               $360
                                             Telephone/Cable/Internet                $450
                                             Food and Groceries                      $1,200
                                             Childcare and Education                 $1,000
                                             Medical Expenses                        $300
                                             Personal care                           $400
                                             Recreation/Charity                      $750
                                             Total
